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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                         )
 GRACE, et al.,                          )
                                         )
              Plaintiffs,                )
                                         )
 v.                                      )    Civil Action No. 1:18-cv-01853-EGS
                                         )
 MATTHEW G. WHITAKER, in his             )
 Official Capacity as Acting Attorney    )
 General of the United States, et al.,   )
                                         )
              Defendants.                )
                                         )

RESPONSE TO PLAINTIFFS’ MOTION FOR TELEPHONIC STATUS CONFERENCE

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Dated: January 22, 2019                      Attorneys for Defendants
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       Defendants respectfully submit this response to Plaintiffs’ motion for a telephonic status

conference in accordance with the Court’s minute order dated January 22, 2019. Defendants took

no position on Plaintiffs’ motion but do not believe that a conference is necessary for the reasons

provided below. Should the Court disagree, however, Defendants are available for a status

conference if one is set.

       A status conference is unnecessary. The Court’s injunction order does not direct what

Plaintiffs suggest. The order instead supports the reading advanced by Defendants. As Defendants

explained in their January 11, 2019 status update, the language of paragraph 5 of the order requires

that the Plaintiffs be allowed to reenter the United States and then be provided with a new credible

fear process. ECF No. 113 at 2-3. The only statutory provision that provides for credible fear

screenings, 8 U.S.C. § 1225(b), contemplates that those subject to expedited removal—and thus

potentially eligible for credible fear screenings—are detained until they are removed or until they

are granted asylum by an Immigration Judge. Under 8 C.F.R. § 235.3(b)(4)(ii), “[p]ending the

credible fear determination by an asylum officer and any review of that determination by an

immigration judge, the alien shall be detained.” This follows from the statute’s requirement that

an applicant asserting or found to have a credible fear “shall be detained” while the credible fear

claim is assessed or the asylum application is pending before an immigration judge. See 8 U.S.C.

§ 1225(b)(1)(B)(ii) (“If the officer determines at the time of the interview that an alien has a

credible fear of persecution (within the meaning of clause (v)), the alien shall be detained for

further consideration of the application for asylum.”); id. § 1225(b)(1)(B)(iii)(IV) (“Any alien

subject to the procedures under this clause shall be detained pending a final determination of

credible fear of persecution and, if found not to have such a fear, until removed.”).

       If Plaintiffs establish a credible fear, they will be considered for release from detention
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under governing law and policy. See ICE Directive 11002.1, Parole of Arriving Aliens Found to

Have a Credible Fear of Persecution or Torture (Dec. 8, 2009); Matter of X-K-, 23 I. & N. Dec.

731 (BIA 2005). Defendants think the Court’s order to provide Plaintiffs with new credible fear

interviews envisions utilizing the status quo credible fear screening and detention regime (to be

conducted without regard to the enjoined aspects of Matter of A-B- and the Policy Memo), and

does not require a unique process whereby Plaintiffs would be released prior to the conduct of a

credible fear screening or would be guaranteed release from custody other than in accordance with

the established procedures for release from custody. A contrary reading places Plaintiffs in a

materially better position than all other similarly situated aliens seeking to assert a credible fear

upon arrival at the border or apprehension after crossing the border.

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                                       CONCLUSION

       Defendants respectfully oppose Plaintiffs’ request for a status conference as it is

unnecessary. Nevertheless, Defendants are available should the Court wish to hold one.

                                                   Respectfully submitted,

                                                   JOSEPH H. HUNT
                                                   Assistant Attorney General

                                                   WILLIAM C. PEACHEY
                                                   Director

                                                   EREZ REUVENI
                                                   Assistant Director

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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2019, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the District of Columbia by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                            By:    /s/ Christina P. Greer
                                                   CHRISTINA P. GREER
                                                   Trial Attorney
                                                   United States Department of Justice
                                                   Civil Division
